

Per Curiam.

The courts have consistently held that statutes changing a Statute of Limitations [State Residential Rent Law, § 11, subd. 5; L. 1946, ch. 274, as amd. by L. 1957, ch. 755] will not be given retroactive effect unless such legislative intent is clearly shown (People v. Cohen, 245 N. Y. 419; cf. Robinson v. Robins Dry Dock &amp; Repair Co., 238 N. Y. 271).
The judgment and order so far as appealed from should be modified to the extent of limiting the recovery to the period commencing July 1, 1957, and as modified affirmed, with costs to respondent.
Concur — Hofstadter, J. P., Hecht and Aurelio, JJ.
Judgment modified, etc.
